          Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 1 of 10

                                                     Southern District of Georgia Case No.:
                                                     4:23mj88-CLR
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
          23-20377-CR-BLOOM/OTAZO-REYES
                             CASE NO.- - - - - -- - - - -
                                                                                         KAN
IN RE SEALED INDICTMENT
- -- - -- - - -- - - -I                                                         Sep 20, 2023

                                       SEALED ORDER                                          Miami


        The United States of America, having applied to this Court for an Order sealing the

Indictment, Arrest Warrant, Motion to Seal, this Order, and any other related document, and the

Court finding good cause:

        IT IS HEREBY ORDERED that the Indictment, Arrest Warrant, Motion to Seal, this

Order, and any other related document, shall be filed under seal until the arrest of the defendant.

The United States Attorney's Office and any relevant law enforcement agency may obtain copies

of the Indictment, Arrest Warrant, or other sealed documents for purposes of arrest, extradition, or

any other necessary cause.

        DONE AND ORDERED in chambers at Miami, Florida, this 20th day of September,

2023.




                                              HONORA': LE LAUREN F. LOUIS
                                              UNITED STATES MAGISTRATE JUDGE
          Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 2 of 10




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
           23-20377-CR-BLOOM/OTAZO-REYES
                            CASE NO. ----------
                                                                                         KAN
IN RE SEALED INDICTMENT
------ - - - ---                                                               Sep 20, 2023
                                      MOTION TO SEAL
                                                                                            Miami
       The United States of America, by and through its undersigned Assistant United States

Attorney, respectfully requests that the Indictment, Arrest Warrant, this Motion, the resulting

Order, and any other related document be SEALED until the arrest of the defendant or further

Order of this Court. Should this Indictment become public prior to the arrest of the defendant, the

defendant may flee and the integrity of the ongoing investigation might be compromised. The

United States Attorney's Office and any relevant law enforcement agency, however, may obtain

copies of the Indictment, Arrest Warrant, or other sealed documents for purposes of arrest,

extradition, or any other necessary cause. The Assistant United States Attorney is prepared to

provide further information in camera should the Court so require.

                                                     Respectfully submitted,

                                                     MARKENZY LAPOINTE
                                                     UNITED STATES ATTORNEY

Date: September 20, 2023                     By:�
                                                 �NardiaHay\ ,_,---
                                                     Assistant UniYe'd States Attorney
                                                     U.S. Attorney's Office - SDFL
                                                     Court ID No. A5502738
                                                     99 NE 4th Street, 6th Floor
                                                     Miami, Florida 33132
                                                     Tel: (305) 961-9326
                                                     Fax: (305) 530-7976
                                                     Email: Nardia.Haye@usdoj.gov
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                                                      Southern District of Georgia Case No.:
                                                      4:23mj88-CLR
                             UNITED ST ATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
             23-20377-CR-BLOOM/OTAZO-REYES
                          CASE NO. ____________
                                   18 U.S.C. § 2252(a)(4)(B) and (b)(2)
                                   18 u.s.c. § 2253

UNITED STATES OF AMERICA                                                            KAN
vs.
                                                                         Sep 20, 2023
JAMES TUCKER KORNHAUSER,


______________/
       Defendant.                                                                       Miami



                                           INDICTMENT

         The Grand Jury charges that:

         On or about November 13, 2019, in Miami-Dade County, in the Southern District of

Florida, and elsewhere, the defendant,

                               JAMES TUCKER KORNHAUSER,

did knowingly possess matter, which contained a visual depiction that had been shipped and

transported using any means and facility of interstate and foreign commerce, and in and affecting

interstate and foreign commerce, and which was produced using materials which had been so

shipped and transported, by any means, including by computer, and the production of such visual

depiction having involved the use of a minor engaged in sexually explicit conduct, as defined in

Title 18, United States Code, Section 2256(2), and such visual depiction was of such conduct, in

violation of Title 18, United States Code, Section 2252(a)(4)(B) and (b)(2).

         Pursuant to Title 18, United States Code, Section 2252(b)(2), it is further alleged that such

visual depiction involved a prepubescent minor and a minor who had not attained twelve years of

age.
            Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 4 of 10



                                FORFEITURE ALLEGATIONS

       1.      The allegations of this Indictment are hereby re-alleged and by this reference fully

incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

property in which the defendant, JAMES TUCKER KORNHAUSER, has an interest.

       2.      Upon conviction of a violation of Title 18, United States Code, Section 2252, as

alleged in this Indictment, the defendant shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 2253(a):

               a.      Any visual depiction described in Title 18, United States Code, Sections

               2251 , 2251A, 2252, 2252A, 2252B, or 2260 or any book, magazine, periodical,

               film, videotape, or other matter which contains any such visual depiction, which

               was produced, transported, mailed, shipped or received in violation of Title 18,

               United States Code, Chapter 11 O;

               b.      Any property, real or personal, constituting or traceable to gross profits or

               other proceeds obtained from such offense; and

               c.      Any property, real or personal, used or intended to be used to commit or to

               promote the commission of such offense or any property traceable to such property.




                                 [This Space Intentionally Blank]




                                                 2
         Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 5 of 10



       All pursuant to Title 18, United States Code, Section 2253(a) and the procedures set forth

in Title 21, United States Code, Section 853 , as incorporated by Title 18, United States Code,

Section 2253(b).

                                                           A TRUE BILL



                                                           FO          O

                       TE
                      TORNEY



NARDIAHA
ASSISTANT UNITED STATES ATTORNEY




                                               3
                    Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 6 of 10
                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                    CASE NO.: _ _ _ _ _ _ _ _ _ _ _ _ _ __

v.
                                                            CERTIFICATE OF TRIAL ATTORNEY
JAMES TUCKER KORNHAUSER,
                                                            Superseding Case Information:
           - - - - - - - -I
- - - - - -Defendant.                                       New Defendant(s) (Yes or No)
                                                                                         ---
Court Division (select one)                                 Number of New Defendants
   [gj Miami      □ Key West            □ FTP               Total number of counts
          □ FTL         □ WPB

I do hereby certify that:
   1.   I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
        their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.    Interpreter: (Yes or No) No
                                    ---
           List language and/or dialect:
                                      ------
     4.    This case will take~ days for the parties to try.

     5.    Please check appropriate category and type of offense listed below:
           (Check only one)                      (Check only one)
           I   IE! 0 to 5 days                 □ Petty
           II □ 6 to 10 days                   □ Minor
           III □ 11 to 20 days                 □ Misdemeanor
           IV □ 21 to 60 days                  IE! Felony
           V □ 61 days and over

     6.    Has this case been previously filed in this District Court? (Yes or No) _N_o_ _
           If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
     7.    Has a complaint been filed in this matter? (Yes or No) No
           lfyes, Magistrate Case No. _ _ _ _ _ _ _ _ _ _ __
                                                                     ---
     8.    Does this case relate to a previously filed matter in this District Court? (Yes or No) _N_o_ _
           If yes, Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.    Defendant(s) in federal custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     10.   Defendant(s) in state custody as of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     11.   Rule 20 from the _ _ _ _ District of
                                                      --------
     12.   Is this a potential death penalty case? (Yes or No) N_o_ _
     13.   Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
           prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
     14.
                                                                                   ---
           Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
           prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
                                                                                ---
     15.   Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. ~Attorney's Office, which concluded on January 22, 2023? N   _ o_ _


                                                            By:
                                                                    Nardia Haye
                                                                    Assistant United States Attorney
                                                                    Court ID No.     A5502738
         Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 7 of 10




                           UNITED ST ATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                       PENALTY SHEET

Defendant's Name: JAMES TUCKER KORNHAUSER

Case No: - - - -- - - -- - - - -- -- - -- -- - - -- - - - - -- -

Count #: 1

Possession of Child Porno graphy

 Title 18, United States Code, Section 2252(a)(4)(B) and (b)(2)
* Max. Term oflmprisonment: Twenty (20) Years' Imprisonment
* Mandatory Min. Term of Imprisonment (if applicable): NIA
*Max.Supervised Release: Minimum of Five (5) Years' Supervised Release, up to Life
* Max. Fine: $250,000




 *Refers only to possible term of incarceration, supervised release, and fines. It does not include
       restitution, special assessments, parole terms, or forfeitures that may be applicable.
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AO 442 (Rev. 01/09) Arrest Warrant


                                        UNITED STATES DISTRICT COURT
                                                               for the                                                 KAN
                                                   Southern District of Florida

                  United States of America
                                                                                                      Sep 20, 2023
                             V.                                     )
                James Tucker Kornhauser,                            )      Case No.
                                                                    )                                                   Miami

                                                                    )     23-20377-CR-BLOOM/OTAZO-REYES
                                                                    )
                            Defendant


                                                  ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      JAMES TUCKER KORNHAUSER
who is accused of an offense or violation based on the following document filed with the court:

rf Indictment       □ Superseding Indictment □ Information □ Superseding Information □ Complaint
□ Probation Violation Petition   □ Supervised Release Violation Petition □ Violation Notice □ Order of the Court
This offense is briefly described as follows:
 Possession of child pornography, 18 U.S.C. § 2252(a)(4)(B) and (b)(2)




                                                      Kayla Allen

                                                    Sep 20, 2023
Date:


City and state:       Miami, Florida                                     Angela E. Noble, Clerk of Court I Court Administrator
                                                                                          Printed name and title


                                                              Return
           This warrant was received on (date) _ _ _
                                                   _ ___ , and the person was arrested on (date)
at (city and state)

Date: _______ _
                                                                                       Arresting officer's signature



                                                                                          Printed name and title
                         Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 9 of 10

AO 442 (Rev. 0 1/09) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                         (Not/or Public Disclosure)

Name of defendant/offender:
                                        - James
                                           - -- Tucker Kornhauser
                                                 - - - - - - - - - - - - -- - - - -- - - - - - - - - - - - - -
Known aliases:
Last known residence:                  9 Calico Crab Retreat, Savannah, GA 31411
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:                  423-847-7913
Place of birth:
Date of birth:             09/06/1991
Social Security number:
Height:         _ 5_'1_0 _ _ _ _ __ __ _ _ _ _ _ __                      Weight:
Sex:      Male                                                           Race:        White
        - - - -- -- - - - - - - - --                      ----
Hair:     Light brown/blonde                                             Eyes:        Blue
Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number) :    Kristie Bryant Kornhauser, mother;
Richard Wayne Kornhauser, father; both at 9 Calico Crab Retreat, Savannah, GA 31411
FBI number:
Complete description of auto:


Investigative agency and address:              FBI , 2030 S .W. 145th Ave., Miramar, FL 33027


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable) :




Date of last contact with pretrial services or probation officer (if applicable):
                 Case 4:23-mj-00088-CLR Document 1 Filed 09/28/23 Page 10 of 10




                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: - - - - - - - - - -

                                         BOND RECOMMENDATION



DEFENDANT: JAMES TUCKER KORNHAUSER

                 $150K PSB with Home Detention and Adam Walsh cond.
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     B~                   _ l _,~~
                                                                                __ ~ -   -   --




Last Known Address: 9 Calico Crab Retreat

                        Savannah, GA 31411




What Facility:




Agent(s):               Sujey Espinoza
                        (FBI) (SECRET SERVICE)          (DEA)    (IRS) (ICE) (OTHER)
                        FBI
